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AO 450 (Rev. 01/09) Judgment in a Civil Action



                            UNITED STATES DISTRICT COURT
                                                           for the
                                                 Northern District of Indiana

JASON SANFORD,

                             Plaintiff
v.                                                                    Civil Action No. 1:16cv128

THOR INDUSTRIES, INC.,
DS CORP, doing business as
Crossroads RV,

                             Defendants

                                        JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

     the plaintiff _______________________________________________________________________
recover from the defendant                                                          the amount of
dollars $               , which includes prejudgment interest at the rate of % plus post-judgment
interest at the rate of           % along with costs.

     the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff                          .

 X Other: Judgment entered in favor of Defendants, Thor Industries, Inc., and DS Corp., doing
business as Crossroads RV, and against Plaintiff, Jason Sanford.

This action was (check one):

   tried to a jury with Judge                                                     presiding, and the jury has
rendered a verdict.

    tried by Judge                                                      without a jury and the above decision was
reached.

 X decided by Judge Theresa L. Springmann on a Motion for Summary Judgment by Defendants.


DATE: February 9, 2018                                            ROBERT N. TRGOVICH, CLERK OF COURT

                                                                   By: s/ L. Higgins-Conrad
                                                                       Signature of Deputy Clerk
